       EXHIBIT 1
Decl. Dr. Cynthia Digesualdo
                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,

                 Plaintiff,

        v.
                                                           Case No. 6:20-cv-423
 JEFFREY LOWE, LAUREN LOWE,
 GREATER WYNNEWOOD EXOTIC
 ANIMAL PARK, LLC, and TIGER
 KING, LLC,

                 Defendants.

                     DECLARATION OF DR. CYNTHIA DIGESUALDO

I, Dr. Cynthia DiGesualdo, do hereby declare that:

       1. Since July 2008, I have worked as a veterinary medical officer for the Animal Care

             Division of U.S. Department of Agriculture’s (“USDA”) Animal and Plant Health

             Inspection Service (“APHIS”). I earned my Doctor of Veterinary Medicine from

             Texas A&M University, College of Veterinary Medicine in 2000. I have over 30

             years of experience working in or around the exotic animal industry, either as a

             zookeeper, an attending veterinarian for a zoological facility, or as a USDA inspector.

       2. I have conducted inspections of the facility known as Tiger King Park in

             Thackerville, Oklahoma (“Thackerville facility”) on behalf of APHIS. As relevant

             here, I conducted inspections of the Thackerville facility on January 20, 2021,

             February 19, 2021, and June 2, 2021. I was on the property to remove animals

             January 24, 2021, May 6, 2021, and May 17 and 18, 2021.

       3. At the inspection of the Thackerville facility on June 2, 2021, I spoke with Lauren

             Lowe regarding whether they had an attending veterinarian formally retained. She



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   stated that they were still working with Dr. Alyson Fryer. I informed her that my

   office had received information suggesting that Dr. Fryer was no longer working with

   them. Ms. Lowe then admitted that Dr. Fryer was no longer working for them and

   stated that they had not had time to hire a new attending veterinarian.

4. When onsite on May 17 and 18, 2021, I prepared an inventory of the animals located

   at the Thackerville facility at that time. At the June 2, 2021, inspection, I observed

   that five animals documented on the inventory for the May 17-18 visit were no longer

   on the premises. These animals include three sheep, one goat, and one alpaca. The

   facility representative, Lauren Lowe, informed me that these five animals went to a

   local farmer. No disposition records were available for the five animals at the time of

   the inspection.

5. I have personal knowledge of the animals observed at the facility on May 17-18,

   2021. I remember seeing the three sheep, one goat, and one alpaca at the

   Thackerville facility on those dates.

6. On May 17-18, 2021, and June 2, 2021, I observed a red fox that, according to the

   facility’s records, has been diagnosed as suffering from chronic medical problems,

   including prostate cancer and arthritis. I have examined the records on site regarding

   this red fox. The records indicate his name is “Sweeny.”

7. In my professional opinion and based upon my personal observations, Sweeny

   appears to be unhealthy and in need of immediate veterinary attention. The facility’s

   records indicate that he has not received any veterinary care since at least May 1,

   2021. A red fox with Sweeny’s chronic illnesses should be routinely examined by a

   qualified veterinarian and closely monitored for changes in his condition or new



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          symptoms. The records I reviewed at the Thackerville facility suggest that Sweeny is

          not being evaluated or monitored appropriately. Among other things, a full veterinary

          physical is necessary to adequately assess his condition in order to identify the best

          options to alleviate his suffering and determine whether the most humane option is

          euthanasia. The lack of veterinary care puts Sweeny at risk of greater suffering,

          which could be avoided by proper treatment or, if a veterinarian determines that

          treatment is no longer able to relieve his suffering, humane euthanasia. In my

          professional opinion, keeping Sweeny in his current living conditions without routine

          care from a qualified veterinarian is inhumane.



       Under the penalty of perjury, pursuant to 28 U.S.C. § 1746(2), I declare the foregoing is

true and correct to the best of my knowledge. Executed in Aledo, TX, on June 17, 2021.

                                                            CYNTHIA               Digitally signed by CYNTHIA
                                                                                  DIGESUALDO
                                                            DIGESUALDO            Date: 2021.06.17 15:11:15 -05'00'

                                                            Cynthia DiGesualdo, DVM
                                                            USDA APHIS Animal Care
                                                            Center for Animal Welfare




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